Case 3:10-cr-02242-JM   Document 628   Filed 06/30/11   PageID.2574   Page 1 of 6
Case 3:10-cr-02242-JM   Document 628   Filed 06/30/11   PageID.2575   Page 2 of 6
Case 3:10-cr-02242-JM   Document 628   Filed 06/30/11   PageID.2576   Page 3 of 6
Case 3:10-cr-02242-JM   Document 628   Filed 06/30/11   PageID.2577   Page 4 of 6
Case 3:10-cr-02242-JM   Document 628   Filed 06/30/11   PageID.2578   Page 5 of 6
Case 3:10-cr-02242-JM   Document 628   Filed 06/30/11   PageID.2579   Page 6 of 6
